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                            U M TED STATE S DISTR IC T CO U R T
                            SO U TH E RN DISTRIC T O F FLO RIDA

                                 CA SE N O .18-20669-CR -M 5


  UN ITED STA TES O F AM ERICA

  VS.

  EV ELIO SU AR EZ,

                Defendant.
                                     /

                                      PLEA A G REEM E N T

         TheUnitedStatesAttonley'sOfficefortheSouthernDistrictofFlorida(t<thisOffce''land
  Evelio Suarez(hereinaAerreferredtoasthe<<defendant'')enterintothefollowingagreement:
                The defendantlm derstandsthathe has the rightto have the evidence and charges

 againsthim presentedtoafederalgrandjuryfordetermination ofwhetherornotthereisprobable
 cause to believehe com m itted the.offensew ith w llich heischarged. Understand ng theright,and

 afterfulland com plete consultation w ith hiscolm sel,the defendantagreesto w aiveindictm entand

  agreesthattheUnited Statesmayproceedbyway ofan inform ation filedpursuanttoRule7 ofthe

  FederalRulesofCrim inalProcedure.

                The defendantagrees to plead guilty to the sole countofthe lnfonnation charging

  thedefendantwith aviolation ofTitle 18,United StatesCode,Section 1956(h)(Conspiracy to
  CommitM oneyLatmdering).
                The defendant understands and acknow ledges that,as to the sole count of the

  lnform ation,the Courtp ay im pose a statm ory m axim llm term ofim prisonm entofup to 20 years

  and a term ofsupervised release ofup to 3 years. The defendantunderstands thatthe Cotu'tm ay
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 impose a fine ofup to $500,000 ortwice the value ofthe property involyed in the transaction.
 The defendant also understands that the court m ay im pose a restitution order. Finally,the

 defendantunderstanbsthata spqçialassessmentof$100 willbeimposedpayable atthetimeof
 sentencing.

        4.      The defendant is aw are that the sentence w ill be im posed by the Court after

 considering the advisory Federal Sentencing Guidelines.and Policy Statements (hereinaAer

 Gçsentencing Guidelines''). The defendantacknowledges and tmderstands thatthe Courtwill
 com pute an advisozy sentence underthe Sentencing Guidelinesand thatthe applicable gtzidelines

 willbe determ ined by the Courtrelying in parton theresultsofapre-sentence investigation by the

 Court'sprobation office,w hich investigation w illcom m ence aRerthe guilty plea hasbeen entered.

 '
 rhe defendant is also aw are that,under certain circllm stances,the Courtm ay departfrom the

 advisory sentencing gtzideline range thatithascomputed,and m ay raise or lowerthatadvisory

 sentence tmderthe Sentencing Guidelines. The defendantisfurtheraware and understandsthat

 the Courtis required to consider the advisory guideline range determ ihed tm der the Sentencing

 Guidelines,butisnotbolmdtoimposeasentencewithinthatadvisoryrange;theCourtispermitted

 to tailorthe ultim ate sentence in lightofotherstatutory concem s,and such sentence m ay be either

 moresevereorlessseverethan theSentencing Guidelines'advisoryrange. Knowing these facts,

 the defendant tmderstands and acknowledges that the Courthas the authority to impose any

 sentencewitltin and up to thestatutory m axim up authorized by 1aw fortheoffense identified in

 paragraph 2 and thatthe defendantm ay notwithdraw theplea solely asa resultofthe sentence

  im posed.

                This O ffice reserves the rightto infonu the Courtand the probation offce of al1

  factspertinenttothesentencingprocess,including al1relevantinform ation concenzing theoffenses
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  com m itted, whether charged or not, as w ell as concerning the defendant and the defendant's

  backpound. Subjectonlytotheexpresstermsofanyagreed-uponrecommendationcontainedin
  thisagreem ent,tlzis Office furtherreservestherightto m ake any recom m endation asto the quality
                           $

  and quantity ofpunishm ent.

                The Urlited Statesagreesthatitw illrecom m end atsentencing thatthe Courtreduce

  by tw o levels the sentencing gtzideline level applicable to the defendant's offense,pursuantto

  Section 3E1.1(a) ofthe Sentencing Guidelines,based upon the defendant's recognition and
  affirm ative and timely acceptance ofpersonalresponsibility. Ifatthe tim e ofsentencing the

  defendant's offense levelis determ ined to be 16 or greater,the governm entwillfile a motion

  requesting an additionalone leveldecrease pursuantto Section 3E1.1(b) ofthe Sentencing
  Guidelines,stating thatthe defendanthasassisted authoritiesin the investigation orprosecution of

  the defendant's own m isconductby tim ely notifying authorities ofthe defendant's intention to
  enterapleaofguilty,therebypennitting the governm entto avoid prepnring fortrialand pennitting

  the governm entand the Courtto allocate their resourceseftk iently. The U nited States agreesto

  recom m end a sentence at the 1ow end of the advisory guideline range. The U nited States,

  how ever,willnotbe required to m ake this m otion and these recom m endations ifthe defendant:

  (1)failsorrefusestomakea111,accurateandcompletedisclosuretotheprobation officeofthe
  circllmstancessurroundingtherelevantoffenseconduct;(2)isfotmdtohavemisrepresentedfacts
  tothegovernmentpriortoenteringintothispleaaveement;or(3)commitsanymisconductafter
  signing tllis plea ar eem ent,including butnot lim ited to com m itting a state or federal offense,

  violating any term of release, or m aking false statem ents or m isrepresentations to any

  govenam entalentity orofficial.
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                The defendantisaw are thatthe sentence hasnotyrtbeen determ ined by the Court.

  The defendantalso isaw arethatany estim ate ofthe probable sentencing range or sentence thatthe

  defendant m ay receive, whether that estim ate com es f'
                                                         rom the defendant's attorney, the

  governm ent,orthe probation offce,is a prediction,not a prom ise,and isnotbinding on the

  governm ent, the probation office or the Court. The defendant tm derstands further that any

 recom m endation thatthe govem m entm akesto theCourtasto sentencing,whetherpursuantto this

  agreem ent or othem ise, is not binding on the Court and the Court m ay disregard the

 recom mendation in its entirety. The defendantundeistands and acknowledges,aspreviously

  acknow ledged in paragraph 4 above,thatthe defendantm ay notw ithdraw hisplea based upon the

  Court's decision not to accept a sentencing recom m endation m ade by the defendant, the

  govenunent,orarecommendation madejointlybyboth thedefendantandthegovem ment.
         8.     t'he defendantis awarethatTitle 18,United States Code,Section 3742 and Title
 28,United StatesCode,Section 1291afford the defendanttherightto appealthe sentenceim posed

 in thiscase. Acu ow ledging this,in exchange for the tm dertakings m ade by the United Statesin

 thisplea agreem ent,the defendanthereby waives a1lrightsconferred by Sections3742 and 1291
 to appealany sentence im posed,including any restitution order,orto appealthe m annerin w hich

  the sentence w asim posed,unlessthe sentence exceedsthem axim llm perm itted by statute oristhe

 resultofan upward departureand/oran upward variance from the advisory guideline range that

  the Courtestablishes atsentencing.

                The defendant further understands thatnotlzing in this agreem ent shallaffectthe

  governm ent's rightand/or duty to appealas set foz'th in Title 18,U nited States Code,Section

  3742417)and Title28,United StatesCode,Section 1291. However,iftheUnited Statesappeals
  thedefendant'ssentencepursuantto Sections3742*)and 1291,the defendantshallbereleased
                                                4
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 from the above w aiver of appellate rights. By signing titis agreem ent, the defendant

 acknowledges thatthe defendanthas discussed the appealw aiversetforth in tlzis ar eem entwith

 the defendant'sattorney.

               This is the entire am eem ent and tm derstanding between tllis Oftk e and the

 defendant. There are no other ap eem ents,prom ises,representations,orunderstandings.

                                           ARIAN A FA JA RD O O RSHA N
                                           U NITED STA TES A TTORN EY


 Date: to/tôIJaIf                                 -'     A - & -
                                    By:
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                                               A SSISTA N T U N ITED STA TES A TTO RN EY


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                                               DEFEN     T
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